                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

COALITION FOR GOOD                       )
GOVERNANCE and DONNA                     )
CURLING,                                 )
                                         )   Civil Action No. 5:23-mc-00001-LGW-BWC
      Plaintiffs,                        )
                                         )   In RE Subpoenas issued by the United States
v.                                       )   District Court For the Northern District of
                                         )   Georgia, Atlanta Division, Civil Action No.
COFFEE COUNTY BOARD OF                   )   1:17-CV-2989-AT
ELECTIONS AND REGISTRATION,              )
                                         )
      Defendant.                         )


DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION FOR EXTENSION OF
                           TIME


      Defendant Coffee County Board of Elections and Registration (the “CCBOE”) files

this Response to Plaintiffs’ Motion for Extension of Time, in which they seek additional

time within which to potentially file a motion for sanctions. (Doc. 42).         Because

Plaintiffs fail to show good cause to extend the Court-imposed January 22, 2024

deadline to file a motion for sanctions (Doc. 41, n.1), their Motion for Extension of Time

should be denied.

      A district court may extend a deadline before the original time expires for “good

cause.” Fed. R. Civ. P. 6(b)(1)(A). In interpreting “good cause” under Fed R. Civ. P.

6(b)(1)(A), the Eleventh Circuit has held that “the good cause standard precludes

modification unless the [deadline] cannot be met despite the diligence of the party

seeking the extension.” Hermann v. McFarland, 2022 WL 4489427, 4 (11th Cir. Sept.

28, 2022) (quoting Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998). The

Eleventh Circuit also “stress[ed] the broad discretion district courts have in managing

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their cases.” Id. (quoting Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358, 1360 (11th Cir.

2002)).

      Plaintiffs have not satisfied their burden of showing they cannot meet the

January 22 deadline. On December 22, 2023, the Court ordered the CCBOE to serve an

itemized privilege log on Plaintiffs by January 3, 2024. (Doc. 41). Upon entry of the

Order, the CCBOE immediately went to work preparing an itemized privilege log based

on its thorough review of documents withheld on privilege grounds — working

throughout the holidays — and served a complaint privilege log on January 3, 2024 (the

“New Log”). Since service of the New Log, the parties engaged in good faith conferrals to

address every concern Plaintiffs raised regarding the New Log and the documents

withheld. These conferrals resulted in the CCBOE’s reexamination and production of

certain documents listed on the New Log. It is the CCBOE’s understanding that it has

addressed each of Plaintiffs’ concerns to their satisfaction. (Ex. A, Email Thread re New

Log, p. 1) (where counsel for the CCBOE wrote on January 12, 2024, “Other than our

agreement to submit an updated privilege log to delete reference to ‘media inquiry’ for

Xrel000061231, is there anything else you feel is needed from us? I believe we’ve

satisfied all concerns you raised.”). The CCBOE has not received any communications

from Plaintiffs since the January 12, 2024 email correspondence attached hereto as

Exhibit A.

      The good cause standard precludes the grant of an extension where the plaintiffs

fail to show that, in the exercise of diligence, they cannot meet a Court-imposed

deadline. Hermann, 2022 WL 4489427, 4. Here, Plaintiffs fail to explain how they are

prevented from filing a motion for sanctions by the January 22, 2024 deadline.



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       While Plaintiffs argue that they are currently at trial in the Curling case, the

docket from that action indicates they are represented by a total of 23 attorneys working

at 9 different law firms. Plaintiffs fail to explain the reason one of those attorneys

cannot devote the time needed to draft and file a motion by January 22, particularly

since they have been on notice of the deadline since December 22, 2023, when the Court

entered its order. Furthermore, it is relevant that the 3½ page privilege log of which

Plaintiffs complain was served on them on August 26, 2022, yet Plaintiffs did not

attempt to confer with the CCBOE regarding any perceived deficiencies in that log until

over a year later. Plaintiffs’ failure to confer within a reasonable time after service of the

original privilege log should not be rewarded with an extension of time.

       For the foregoing reasons and for all other reasons the Court deems proper, the

Court should deny Plaintiffs’ Motion for Extension of Time (Doc. 42).

       This 17th day of January, 2024.



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                              CERTIFICATE OF SERVICE

       This is to certify that I have this day caused electronic notification of filing and
service of the foregoing to be made upon counsel of record for the parties by filing the
same using the Court’s CM/ECF filing system.


      This 17th day of January, 2024.

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